                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
GLOBAL FORCE                                          )
ENTERTAINMENT, INC. ET AL.                            )
                                                      )   CIVIL ACTION NO. 3:18-cv-00749
         Plaintiffs/Counter-Defendants,               )
                                                      )   CHIEF JUDGE CRENSHAW
    v.                                                )   MAGISTRATE JUDGE HOLMES
                                                      )
ANTHEM WRESTLING                                      )
EXHIBITIONS, LLC,                                     )   JURY DEMAND
                                                      )
         Defendant/Counter-Plaintiff.                 )


    PLAINTIFF’S OBJECTION AND SUGGESTED ADDITION TO “TRADEMARK
     LICENSE” AND “LIMITS OF IMPLIED LICENSE” JURY INSTRUCTIONS


         Plaintiff Global Force Entertainment, Inc. (“GFE”) submits the following objections and

proposed addition to the “Trademark License” and “Implied License” jury instructions (pages 52,

53 and 54 of draft provided to the parties).

         GFE’s issue with the instructions is that they do not provide sufficient detail for the jury

regarding the creation of an implied license. It is fundamental that Defendant must prove the

existence of the license. As the instructions are written, they do not state that if a condition creating

a license is not there, the license does not exist.

         Whether there is a condition that must be met—such as the occurrence of a specific event—

can determine whether an implied license exists. If that condition—such as an event—does not

occur, then no license exists. In Ranieri v. Adirondack Dev. Grp., LLC, 164 F. Supp. 3d 305

(N.D.N.Y. 2016) (in the architectural context), the court held no implied license existed because

the parties’ intent was conditioned upon the occurrence of an event—namely the completion of a

project by which the alleged licensor was terminated prior to completion. Id. at 341. Ranieri is a

similar principal to that of Johnson v. Jones, 149 F.3d 494, 500 (6th Cir. 1998), where the Sixth


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Circuit affirmed the district court’s finding that lack of intent to create an implied license was

shown by unsigned documents that conditioned assignment of drawings on the alleged assignor’s

understanding that he would be the architect on the job.

        The principal in Ranieri and Johnson applies here—where the existence of the license may

be contingent upon meeting a condition. Accordingly, GFE requests the Court modify the last two

paragraphs of the “Trademark License” instruction as follows (additions in bold and italics):

                The key question is determining whether an implied license exists and was
        granted to Anthem Wrestling. Whether there is a condition that must be met can
        determine whether an implied license exists. The totality of the circumstances may
        indicate that Jeffrey Jarrett or GFE intended that the trademarks were used in the
        manner in which they were used. Based on the totality of the circumstances of the
        case, whether the evidence supports the notion that the parties, in essence, made an
        unwritten agreement permitting Anthem Wrestling to use the work, consistent with
        certain understands or terms.

               If you find that an implied license exists and GFE or Jeffrey Jarrett granted
        Anthem Wrestling an implied license to use the trademarks at issue, you cannot
        find Anthem Wrestling liable for trademark infringement unless you find that
        Anthem Wrestling acted beyond the terms of the implied license or exceeded the
        scope of implied license.

GFE respectfully submits such additions are necessary to be in accord with applicable law and to

provide clarity for the jurors in their deliberations that they must first decide whether an implied

license exists.

        Even if the jury finds that an implied license exists because the existence of the license was

not contingent on completion of the merger, the “Limits of Implied License” instruction incorrectly

states the existence of a license is a complete bar to GFE’s claims. That is contradictory to the

totality of the circumstances test. The jury could find that the license had a defined scope and

Defendant’s actions exceed the scope. This potential is expressed in the “Trademark License”

instruction’s last paragraph that states in part “you cannot find Anthem Wrestling liable for

trademark infringement unless you find that Anthem Wrestling acted beyond the terms of the



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implied license or exceeded the scope of the implied license.” (Emphasis added.) The “Limits of

Implied License” directly contradicts the “Trademark License” instruction previously stated

because the “Limits of Implied License” instruction states “If the completion of the merger was

not a condition of the implied license, Anthem Wrestling’s conduct cannot constitute trademark

infringement of infringement of Mr. Jarrett’s image and likeness because it did not exceed the

scope of the implied license.” (Emphasis added.) To be consistent with the law, and to avoid

confusing the jurors, the word “because” must be changed to “unless.” Accordingly, GFE

respectfully requests that change.

        Wherefore, GFE respectfully requests the Court:

        1. Modify the last two paragraphs of the “Trademark License” instruction as follows

(additions in bold and italics):

                The key question is determining whether an implied license exists and was
        granted to Anthem Wrestling. Whether there is a condition that must be met can
        determine whether an implied license exists. The totality of the circumstances may
        indicate that Jeffrey Jarrett or GFE intended that the trademarks were used in the
        manner in which they were used. Based on the totality of the circumstances of the
        case, whether the evidence supports the notion that the parties, in essence, made an
        unwritten agreement permitting Anthem Wrestling to use the work, consistent with
        certain understands or terms.

               If you find that an implied license exists and GFE or Jeffrey Jarrett granted
        Anthem Wrestling an implied license to use the trademarks at issue, you cannot
        find Anthem Wrestling liable for trademark infringement unless you find that
        Anthem Wrestling acted beyond the terms of the implied license or exceeded the
        scope of implied license.



        2. Modify the last sentence of the second paragraph in the “Limits to Implied License” by

substituting “unless” for the word “because.”




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                                           Respectfully submitted,

                                           MILLER LEGAL PARTNERS PLLC

                                           /s/ Samuel F. Miller
                                           Samuel F. Miller, TN Bar No. 22936
                                           Sara R. Ellis, TN Bar No. 30760
                                           Hayley H. Baker, TN Bar No. 037439
                                           Fifth Third Center–Suite 2000
                                           424 Church Street
                                           Nashville, Tennessee 37129
                                           Tel/Fax: (615) 988-9590
                                           Email: SMiller@millerlegalpartners.com
                                                  Sellis@millerlegalpartners.com
                                                  Hbaker@millerlegalpartners.com

                                   Counsel for Plaintiffs



                              CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of July 2020, the foregoing document was filed via
ECF upon the following:

        Paige W. Mills
        Ashleigh Karnell
        Bass, Berry & Sims PLC
        150 Third Avenue South, Suite 2800
        Nashville, TN 37201
        (615) 742-6200
        pmills@bassberry.com
        ashleigh.karnell@bassberry.com

                                                  /s/ Samuel F. Miller
                                                  Samuel F. Miller




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